      Case 3:16-cv-00841-SMY Document 279 Filed 11/01/22 Page 1 of 2                            Page ID
                                        #1326
                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

                                               )
DAVID MOSS                                     )         CASE NO.: 16-cv-00841
                                               )
                    Plaintiffs,                )         JURY TRIAL DEMANDED
                                               )
      v.                                       )
                                               )
COMBE INCORPORATED, COMBE                      )
PRODUCTS, INC., COMBE                          )
LABORATORIES, INC., and COMBE                  )
INTERNATIONAL, LTD,                            )
                                               )
                   Defendants.

        STIPULATION OF DISMISSAL WITH PREJUDICE AS TO ALL DEFENDANTS

       Pursuant to Fed. R. Civ. P. 41(a)(1)(ii), the undersigned counsel hereby agree and stipulate that all
claims of Plaintiff DAVID MOSS against all Defendants in the above-captioned matter be dismissed in
their entirety with prejudice, each party to bear its own costs.

Dated: February 12th, 2019

/s/ Richard W. Schulte                             /s/ Stephen G. Strauss
Richard W. Schulte                                 Stephen G. Strauss
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                                                     1
Case 3:16-cv-00841-SMY           Document 279 Filed 11/01/22            Page 2 of 2     Page ID
                                          #1327



                                 CERTIFICATE OF SERVICE

       I hereby certify that today this Stipulation of Dismissal With Prejudice As To All

Defendants was filed with the Clerk of the Court to be served by operation of the Court’s

electronic filing system on all counsel of record. The document is being filed pursuant to the

terms of the Master Settlement Agreement, with the consent of counsel.

                                             /s/ Stephen G. Strauss
